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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

VINA HANNA,

      Plaintiff,

v.                                                        Case No: 8:17-cv-684-T-30MAP

MAURY COBB, ATTORNEY AT LAW,
LLC and DOES 1-10, INCLUSIVE,

      Defendants.


                               ORDER OF DISMISSAL

      Before the Court is the Notice of Withdrawal of Complaint and Voluntary Dismissal

of Action Without Prejudice (Dkt. #6). Upon review and consideration, it is

      ORDERED AND ADJUDGED as follows:

      1.     This cause is dismissed without prejudice.

      2.     All pending motions are denied as moot.

      3.     The Clerk is directed to close this case.

      DONE and ORDERED in Tampa, Florida, this 16th day of May, 2017.




Copies furnished to:
Counsel/Parties of Record
